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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   JESSICA GUASTO,

                  Plaintiff,                                      CASE NO.: 1:22-cv-21004-DPG

          v.

   THE CITY OF MIAMI BEACH, FL,
   A Florida municipality, et al.

               Defendants.
   _________________________________/

         PROPOSED ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION FOR
        EXTENSION OF TIME TO RESPOND TO DEFENDANT’S MOTION TO STRIKE
          PLAINTIFF’S EXPERT REPORT AND AMENDED EXPERT DISCLOSURE

          THIS CAUSE is before the Court on Plaintiff’s Unopposed Motion for Extension of Time

   to Respond to Defendant’s Motion to Strike Plaintiff’s Expert Report and Amended Expert

   Disclosure [D.E. 46] filed February 26, 2024, and the Court, having considered the Motion, and

   being otherwise fully apprised on the premises, it is hereby

          ORDERED AND ADJUDGED that the Motion is hereby GRANTED. Plaintiff shall file

   their response to Defendant’s Motion to Strike Plaintiff’s Expert Report and Amended Expert

   Disclosure [D.E. 43] on or before March 11, 2024.

          DONE AND ORDERED in Chambers in Miami-Dade County, Florida, on this ___ day

   of              2024.



                                                                                          __
                                         THE HONORABLE DARRIN P. GAYLES
                                         UNITED STATES DISTRICT JUDGE


   Copies Furnished to All Counsel of Record
